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                     EXHIBIT A



              HEARING TRANSCRIPT
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                  UNITED STATES BANKRUPTCY COURT
                       DISTRICT OF DELAWARE

                              .       Chapter 11
IN RE:                        .
                              .       Case No. 24-12726(MFW)
MAWSON INFRASTRUCTURE GROUP, .
INC.,                         .       824 Market Street
                              .       Wilmington, Delaware 19801
              Alleged Debtor. .
. . . . . . . . . . . . . . . .       Wednesday, January 22, 2025
MAWSON INFRASTRUCTURE GROUP, .
INC.,                         .       Adv. Proc. No. 25-50008(MFW)
                              .
          vs.                 .
                              .
CELSIUS NETWORK LTD., CELSIUS .
MINING LLC and IONIC DIGITAL .
MINING LLC.                   .
. . . . . . . . . . . . . . . .

                   TRANSCRIPT OF HEARING RE:
    EMERGENCY MOTION FOR TEMPORARY RESTRAINING ORDER AND
     PRELIMINARY INJUNCTION EXTENDING THE AUTOMATIC STAY
             BEFORE THE HONORABLE MARY F. WALRATH
                 UNITED STATES BANKRUPTCY JUDGE

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Proceedings recorded by electronic sound recording,
transcript produced by transcription service.
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 1   to Mawson.    Thank you.

 2                THE COURT:    All right.     I'm ready to rule.

 3                First, with respect to the last point, I agree --

 4   or I agree with respect to the point about Mawson now

 5   asserting that arbitration -- they're not seeking to move the

 6   arbitration into this bankruptcy case.             But in their last

 7   comments, it suggested that they really were, that it can be

 8   dealt with in this bankruptcy case.           And I think that

 9   judicial estoppel prevents the debtor from taking that

10   position.

11                In Celsius' bankruptcy case, Mawson argued that

12   this issue between the parties, the issues between the

13   parties should go to arbitration.          It, ultimately, won that,

14   and it can't switch its position now.              The parties have been

15   proceeding with the arbitration that it insisted on.              And I

16   think its efforts, at this point, to stop that arbitration

17   are really in bad faith.         It's just to delay the possibility

18   of losing the Rule 34 motion that is pending before the

19   arbitrator.

20                Even if judicial estoppel were not applicable here,

21   however, I find that the -- that Mawson has not met the

22   standard for a TRO here.         The extension of the stay to

23   nondebtors is unusual and there is a heavy burden on the

24   party seeking that.

25                This is not the case where there are thousands of
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 1   lawsuits against a debtor, which will require the -- a debtor

 2   and its subsidiaries, which will require the debtors'

 3   management to be diverted from its bankruptcy purpose of a

 4   reorganization, such as in the A.H. Robins and the many other

 5   cases where the stay has been extended to nondebtors, such as

 6   the directors and officers and subsidiaries.

 7             And while the debtor asserts that Celsius has

 8   argued that its subs are alter egos of Mawson, Mawson has not

 9   conceded that point.    Mawson has not argued that before the

10   arbitrator, to my knowledge, and has not really asserted it

11   in this case.   It has not asserted that they are alter egos.

12   It has asserted merely that its management will be diverted

13   and that Mawson is paying the costs of defense.                Those were

14   the assertions in its motion.       I'm also persuaded that --

15   well, that is not enough.

16             Mawson has not articulated that it has a

17   reorganization purpose.    And I think it is unusual to have

18   this argument in an involuntary proceeding.            I also have not

19   found any cases where a purported debtor has sought to extend

20   the stay to its subsidiaries while it fights, opposes an

21   involuntary petition.    And I agree that it seems to be

22   counter to its argument that there is a purpose to staying

23   these actions, while it fights an involuntary.

24             If it is correct and the involuntary is dismissed,

25   there is no stay at all against -- in favor of Mawson and
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 1   shouldn't be one in favor of its subsidiaries.               And I think

 2   that to extend the stay at this point while the -- while

 3   Mawson is taking the position it shouldn't be in bankruptcy

 4   is not appropriate.

 5             I'm also convinced that the fact that the claims

 6   being asserted by Celsius are against a sub convinces me that

 7   it will not have a -- it's not jumping the line as to

 8   Mawson's creditors.     Mawson is the only purported debtor in

 9   this involuntary case.     It is already structurally superior

10   in priority to creditors of Mawson.          The claims of creditors

11   get paid from the subsidiary before Mawson or its creditors

12   have any rights to those assets of those subsidiaries.                So

13   it's not seeking to jump the line.

14             Further, the assertion that Mawson has to pay

15   defense costs?   Those costs have already been incurred.               The

16   answer has been filed, the reply has been filed.                 The only

17   thing pending in the arbitration right now is a decision by

18   the arbitrator on the Rule 34 motion.             I don't think that's

19   enough to show that the debtor -- that Mawson and whatever

20   reorganization purpose it has will be harmed by allowing the

21   arbitration to proceed.     But again, Mawson has not

22   articulated that it even has a reorganization purpose.

23             Mawson is asserting it's just a delay of a couple

24   of months, but a delay of a couple of months is significant

25   here, where the parties have been in arbitration for at least
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 1   six months.

 2               And I agree with Celsius that I cannot ignore the

 3   timing in this case.    The arbitration has been going on for

 4   months.   Mawson has known about it for months.            Mawson has

 5   been involved in the involuntary filing, which was filed

 6   December 4th, six weeks ago, has not sought a TRO before now,

 7   literally waited until the last minute, until almost the eve

 8   of the date it had to file a response, or its sub had to file

 9   a response, before asking for a TRO.         It's clear that the

10   harm to Mawson is insignificant.        And now it has already

11   filed -- its sub has already filed, it's already paid those

12   defense costs, presumably.

13               And finally, on public policy, I really think that

14   it -- public policy favors arbitration even in bankruptcy

15   cases.    And that has been articulated by the Third Circuit

16   and many other courts.    Public policy does not favor

17   extending the automatic stay to nondebtors.            And I think

18   Purdue made that clear, the Supreme Court in Purdue made that

19   clear.

20               Public policy does not -- certainly does not extend

21   the auto -- favor extending the automatic stay to nondebtors

22   in an involuntary case, where the debtor itself is contested

23   the need for a bankruptcy case, thereby negating any

24   reorganization purpose for that case.

25               So I just think the -- that Mawson has not met the
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 1   standards for a TRO or a preliminary injunction in this case,

 2   so I will deny the motion.

 3             And I'll ask counsel for Celsius to submit a form

 4   of order to that effect after -- under certification of

 5   counsel, after reviewing it with counsel for Mawson.           Okay?

 6             MR. WOFFORD:     Understood, Your Honor.

 7             THE COURT:     All right.     That being the only matter

 8   before the Court, we will stand adjourned.           Thank you.

 9             COUNSEL:    Thank you, Your Honor.         Thank you, Your

10   Honor.

11        (Proceedings concluded at 11:15 a.m.)

12                                   *****

13                              CERTIFICATION

14             I certify that the foregoing is a correct

15   transcript from the electronic sound recording of the

16   proceedings in the above-entitled matter to the best of my

17   knowledge and ability.

18

19

20

21

22                                                    January 23, 2025

23   Coleen Rand, AAERT Cert. No. 341

24   Certified Court Transcriptionist

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